        Case 4:12-cr-00082-BMM Document 260 Filed 03/09/17 Page 1 of 2




                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                        GREAT FALLS DIVISION

 UNITED STATES OF AMERICA,                         CR 12-82-GF-BMM

                     Plaintiff,                           ORDER

 vs.

 BILLIE JOE BULLSHIELDS,

                     Defendant.

       This case was referred to United States Magistrate Judge John Johnston for a

revocation hearing and findings and recommendations. Judge Johnston entered his

findings and recommendations on February 22, 2017. Defendant admitted that she

had violated the conditions of her supervised release by failing to report to her

probation officer within seventy-two hours of her release from custody. Judge

Johnston found the admission sufficient to establish the supervised release

violation. He recommended that this Court revoke Defendant's supervised release

and commit her to the custody of the United States Bureau of Prisons for a term of

imprisonment of ten months, with no supervised release to follow.

       No objections were filed by either party. Judge Johnston’s findings

and recommendations are therefore reviewed for clear error. McDonnell

Douglas Corp. Commodore Bus. Mach, Inc., 656 F.2d 1309, 1319 (9th Cir.
         Case 4:12-cr-00082-BMM Document 260 Filed 03/09/17 Page 2 of 2


1981).

      This Court agrees with Judge Johnston’s findings. Defendant admitted she

had violated the conditions of her supervised release. Defendant could be

incarcerated for up to 36 months, followed by 48 months of supervised release less

any custody time imposed. The United States Sentencing Guidelines call for a

term of imprisonment of four to 10 months. A sentence of ten months in custody,

followed by no supervised release is appropriate. This is the fourth time that the

Defendant has violated the terms of her supervised release. The sentence is

sufficient but not greater than necessary.

         IT IS ORDERED that Judge Johnston’s Findings and Recommendations

(Doc. 255) are ADOPTED in full and Judgment shall be entered accordingly.

      DATED this 9th day of March, 2017.




                                             -2-
